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                         UNITED STATES DISTRICT COURT
                            DISTRICT OF NEW JERSEY
 _________________________________________
 WILLIE JARVIS,                            :
                                           :
             Plaintiff,                    :   Civ. No. 14-7766 (FLW) (DEA)
                                           :
       v.                                  :
                                           :
 KEVIN CONWAY et al.,                      :   OPINION
                                           :
             Defendants.                   :
 _________________________________________ :

 WOLFSON, Chief Judge:

                                    I.      INTRODUCTION

        Plaintiff, Willie Jarvis (“Jarvis” or “Plaintiff”), is proceeding pro se with a complaint

 alleging civil rights violations under 42 U.S.C. § 1983. (2d Am. Compl., ECF No. 34.)

 Presently before the Court is a motion by defendants, Kevin Conway (“Conway”) and Vincent

 Monaghan (“Monaghan”) (collectively, “Defendants”), for summary judgment under Federal

 Rule of Civil Procedure 56. (Mot., ECF No. 85.) For the following reasons, the motion is

 GRANTED.

                                     II.     BACKGROUND

        A. Underlying Facts 1

        As the underlying allegations are well known to the parties, I include here only the

 undisputed facts as directly relevant to Jarvis’s active claims. On the evening of July 11, 2014,

 at around 11:00 p.m., non-party Lamont Sterling (“Sterling”) reported to the New Brunswick



 1
   The summary judgment motion includes, as required by Local Civil Rule 56.1, a statement of
 undisputed facts. (Statement of Undisputed Facts, ECF No. 85-2 at 3–10.) Jarvis’s opposition to
 the motion includes a series of admissions and denials, which the Court construes as his
 responsive statement of material facts, under Rule 56.1. (See ECF No. 89 at ECF pp. 2–6.)
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 Police Department that four men, two of whom had guns, had tried to kidnap and rob him.

 (Statement of Undisputed Facts, ECF No. 85-2 at 3–10, ¶ 2 [hereinafter, “Defs.’ Stmt.”]; see also

 Pl.’s Disputed Facts, ECF No. 89, at ECF pp. 2–6, ¶ 2 [hereinafter, “Pl.’s Stmt.”].) Sterling

 reported that his assailants had fled towards a liquor store near his residence, Hub Liquors.

 (Defs.’ Stmt. ¶ 3; see also Pl.’s Stmt. ¶ 3.) Officers Henry Gliottone (“Gliottone”) and Erika

 DiMarcello (“DiMarcello”) responded to Sterling’s home, where he explained to the officers that

 four men, two with guns, had encountered him near Hub Liquors and had ordered him to take

 them to his apartment, threatening to shoot him if he attempted to escape. (Defs.’ Stmt. ¶ 4; see

 also Pl.’s Stmt. ¶ 4.) Once in the building, Sterling had apparently entered a neighbor’s

 apartment and closed the door on the other men, who had then left. 2 (Defs.’ Stmt. ¶ 4; see also

 Pl.’s Stmt. ¶ 4.) Sterling described the assailants as four black, Jamaican men who were wearing

 jeans and t-shirts, one of whom had dreadlocks, and Gliottone distributed that description as well

 as the possible location of Hub Liquors over police radio. (Defs.’ Stmt. ¶ 5; see also Pl.’s Stmt.

 ¶ 5.)

         Defendants, both also New Brunswick police officers, responded to the area of Hub

 Liquors and saw Jarvis, who “matched the description of the suspect with dreadlocks that had

 been broadcast over the radio.” (Defs.’ Stmt. ¶¶ 6–7; see also Pl.’s Stmt. ¶¶ 6–7.) Defendants



 2
   Jarvis, in opposition, urges that it was, in fact, Sterling who committed a crime against Jarvis.
 He alleges that Sterling had invited Jarvis to come to his residence so that Sterling could sell him
 $20 worth of marijuana. Jarvis asserts that, once they had entered the building, Sterling
 exclaimed “You got!,” which Jarvis states meant he was being robbed, and Sterling then ducked
 into another resident’s apartment to escape Jarvis. Jarvis admits that he stuck his foot in the door
 in an attempt to prevent Sterling from getting away but took his foot out of the door when the
 resident of that apartment yelled at him. (Pl.’s Stmt. ¶ 4.) Jarvis further explains that he pleaded
 guilty to attempted burglary because of sticking his foot in the other resident’s door, and he
 “admits that he was wrong for sticking his foot in the lady’s door.” (ECF No. 89 at ECF p. 15.)
 Importantly, however, Jarvis makes no argument concerning Sterling’s allegations to police that
 Jarvis and others had assailed him. (See ECF No. 89.)

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 detained Jarvis and frisked him. (Defs.’ Stmt. ¶ 8; see also Pl.’s Stmt. ¶ 8.) Gliottone and

 DiMarcello then brought Sterling to Hub Liquors and conducted a “show-up” of Jarvis. (Defs.’

 Stmt. ¶ 10; Pl.’s Stmt. ¶ 10.) Sterling identified Jarvis to officers as one of the assailants who

 had had a gun. (Defs.’ Stmt. ¶ 11; see also Pl.’s Stmt. ¶ 11.) Jarvis was then placed under arrest.

 (Defs.’ Stmt. ¶ 11; see also Pl.’s Stmt. ¶ 11.)

        Jarvis was subsequently charged with kidnapping, possession of a firearm for an unlawful

 purpose, possession of an unpermitted handgun, terroristic threats, possession of a weapon by a

 felon, and refusing to allow fingerprints to be taken. (Defs.’ Stmt. ¶ 12; Pl.’s Stmt. ¶ 12.) He

 was indicted on charges of kidnapping, conspiracy, attempted burglary, possession of a weapon

 for unlawful purposes, possession of an unpermitted handgun, terroristic threats, obstruction, and

 possession of a weapon by a felon. (Defs.’ Stmt. ¶ 20; Pl.’s Stmt. ¶ 20.) Jarvis ultimately

 pleaded guilty to burglary and attempt, and he was sentenced to three years in prison. (Defs.’

 Stmt. ¶ 21; Pl.’s Stmt. ¶ 21.)

        B. Procedural History

        On October 8, 2014, Jarvis filed a Complaint against the New Brunswick Police

 Department, Gliottone, and Middlesex Adult Corrections, in the Superior Court of New Jersey,

 Middlesex County, which Complaint was, apparently, never served. (See Notice of Removal,

 ECF No. 1, ¶¶ 1–2; Notice of Removal, Ex. A, ECF No. 1-1, at ECF pp. 1–6.) Plaintiff then

 filed a First Amended Complaint in state court on November 6, 2014. (See id. ¶ 3; Notice of

 Removal, Ex. B, ECF No. 1-1, at ECF pp. 7–19.) The First Amended Complaint added as

 defendants DiMarcello, Judge Philip Barow (“Barow”), Middlesex Adult Correctional Center

 Warden Mark Cranston (“Cranston”), County Councilor Ronald Rios (“Rios”), and Police




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 Director Anthony Caputo (“Caputo”). (See ECF No. 1-1 at ECF p. 12.) On December 12, 2014,

 the defendants removed the action to this Court. (See ECF No. 1.)

        On June 22, 2015, Jarvis, with leave of the Court, filed a Second Amended Complaint,

 portions of which remain the operative pleading in this action. (See ECF Nos. 18, 27, 34.) The

 Second Amended Complaint alleged claims arising from his arrest and prosecution against

 Gliottone, DiMarcello, Barow, Caputo, Cranston, Conway, Monaghan, and Rios for unlawful

 search and seizure, false arrest, false imprisonment, failure to provide Miranda warnings, failure

 to bring Jarvis before a neutral magistrate, failure to intervene, and supervisory liability or failure

 to train. (See ECF No. 34.) The Court granted, on August 7, 2015, a motion by Barow to

 dismiss the claims against him as barred by judicial immunity. (See ECF Nos. 5, 41, & 42.) On

 September 21, 2015, Magistrate Judge Douglas E. Arpert stayed the action pending the

 conclusion of the state criminal proceedings against Jarvis. (Order, ECF No. 49.) The action

 was reopened on March 10, 2017, after the Court was informed of Jarvis’s guilty plea and the

 conclusion of the criminal proceedings. (See ECF No. 64.)

        Thereafter, the defendants filed motions to dismiss the Second Amended Complaint,

 (ECF Nos. 65, 66, & 67), which I interpreted as motions for judgment on the pleadings under

 Federal Rule of Civil Procedure 12(c), as the defendants had previously filed answers, (see Op.,

 ECF No. 68, at 5.) I declined to dismiss the Fourth Amendment claims as barred by Heck v.

 Humphrey, 512 U.S. 477 (1994), finding that, because the claims “do not automatically impugn

 the validity of a subsequent conviction arising from that arrest, the Court is unable to determine

 whether Plaintiff’s success on his Fourth Amendment claims would necessarily impugn the

 validity of his guilty plea for Burglary and Attempt without the full record.” (ECF No. 68 at 12

 (citation omitted).) Nonetheless, I granted dismissal as to Cranston and Rios, as Jarvis had



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 included no factual allegations suggesting that either of them was personally involved in any

 constitutional violations. (Id. at 12–13.) Furthermore, pursuant to the Court’s screening power

 under 28 U.S.C. § 1915A, I dismissed the claims related to the alleged failure to bring Jarvis

 before a neutral magistrate for a probable cause determination within 48 hours of his arrest and

 the claims against Caputo. (Id. at 13–16.) The only claims remaining active following the

 issuance of that Opinion and Order are the Fourth Amendment claims—for unlawful search and

 seizure, false arrest, and false imprisonment—against Conway and Monaghan, and the other

 defendants were dismissed. (See ECF No. 68 at 16 & n.12; ECF No. 69 at 2 & n.1.)

        The remaining parties thereafter participated in discovery overseen by Judge Arpert. (See

 ECF Nos. 75 & 94.) Upon the conclusion of fact discovery, Defendants moved for summary

 judgment as to the remaining claims. (ECF No. 85.) Jarvis filed an opposition to the motion,

 and Defendants filed a reply brief. (ECF Nos. 89 & 92.) Concurrently, Jarvis filed a motion to

 strike Defendants’ Answer based on lengthy delays in their compliance with discovery

 obligations. (See ECF Nos. 88 & 91.) Judge Arpert denied the application to strike the Answer,

 but, given the discovery delays, granted Jarvis leave to file a supplemental opposition to the

 summary judgment motion. (ECF No. 94.) Jarvis thereafter filed a supplemental opposition, and

 Defendants filed a sur-reply. (ECF Nos. 97 & 98.)

                                  III.    LEGAL STANDARDS

    A. Summary Judgment Standard

        Federal Rule of Civil Procedure 56 permits a court to award a party summary judgment if

 “the movant shows that there is no genuine dispute as to any material fact and the movant is

 entitled to a judgment as a matter of law.” Fed. R. Civ. P. 56(a). A factual dispute is genuine if

 supported by evidence such that a reasonable jury could return a verdict in the non-movant's



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 favor. See Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248, 251–52 (1986); Matsushita Elec.

 Indus. Co. v. Zenith Radio Corp., 475 U.S. 574, 587 (1986); Kaucher v. County of Bucks, 455

 F.3d 418, 422–23 (3d Cir. 2006). A fact is material if, under the governing substantive law, a

 dispute about the fact might affect the outcome of the suit. See Anderson, 477 U.S. at 248;

 Kaucher, 455 F.3d at 423. In determining whether a genuine dispute of material fact exists, the

 Court must view the facts and all reasonable inferences drawn from those facts “in the light most

 favorable to the [non-movant].” Matsushita Elec. Indus. Co., 475 U.S. at 587.

        A movant for summary judgment “bears the initial responsibility of informing the district

 court of the basis for its motion.” Celotex Corp. v. Catrett, 477 U.S. 317, 323 (1986). While a

 defendant moving for summary judgment must support assertions by “citing to particular parts of

 materials in the record,” Fed. R. Civ. P. 56(c)(1)(A), the movant is not required to “support its

 motion with affidavits or other similar materials negating the opponent’s claim,” Celotex Corp.,

 477 U.S. at 323. Instead, “the burden on the moving party may be discharged by ‘showing’—

 that is, pointing out to the district court—that there is an absence of evidence to support the

 nonmoving party’s case.” Id. at 325. If the movant has shown an absence of material factual

 dispute, the non-movant then bears the burden to “designate specific facts showing that there is a

 genuine issue for trial.” Id. at 324 (internal quotation marks omitted). Moreover, the non-

 movant may not rest upon the mere allegations or denials of the pleadings. Id. at 324;

 Maidenbaum v. Bally's Park Place, Inc., 870 F. Supp. 1254, 1258 (D.N.J. 1994), aff’d 67 F.3d

 291 (3d Cir. 1995). The non-movant must “do more than simply show that there is some

 metaphysical doubt as to the material facts.” Matsushita Elec. Indus. Co., 475 U.S. at 586. A

 mere “scintilla of evidence . . . will be insufficient.” Anderson, 477 U.S. at 252.




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        Local Civil Rule 56.1 requires that a motion seeking summary judgment include a

 statement of material facts not in dispute and that an opponent of summary judgment shall file “a

 responsive statement of material facts, addressing each paragraph of the movant’s statement,

 indicating agreement or disagreement and, if not agreed, stating each material fact in dispute and

 citing to the affidavits and other documents submitted in connection with the motion.” L. Civ. R.

 56.1(a). The rule further provides that “any material fact not disputed shall be deemed

 undisputed for purposes of the summary judgment motion.” Id. Although a motion for summary

 judgment may not be granted by default, merely because it goes unopposed, Anchorage Assocs.

 v. V.I. Bd. of Tax Review, 922 F.2d 168, 175 (3d Cir. 1990), the motion may be granted if the

 undisputed facts warrant judgment as a matter of law, Miller v. Ashcroft, 76 F. App’x 457, 462

 (3d Cir. 2003); Houston v. Township of Randolph, 934 F. Supp. 2d 711, 723 (D.N.J. 2013), aff’d

 559 F. App’x 139 (3d Cir. 2014).

    B. Section 1983 Generally

        42 U.S.C. § 1983 is the statutory basis for asserting violations of a plaintiff’s

 constitutional rights. That section provides,

                Every person who, under color of any statute, ordinance,
                regulation, custom, or usage, of any State or Territory or the
                District of Columbia, subjects, or causes to be subjected, any
                citizen of the United States or other person within the jurisdiction
                thereof to the deprivation of any rights, privileges, or immunities
                secured by the Constitution and laws, shall be liable to the party
                injured in an action at law, suit in equity, or other proper
                proceeding for redress, except that in any action brought against a
                judicial officer for an act or omission taken in such officer’s
                judicial capacity, injunctive relief shall not be granted unless a
                declaratory decree was violated or declaratory relief was
                unavailable.

 42 U.S.C. § 1983. To state a claim under § 1983, a plaintiff must allege, first, the violation of a

 right secured by the Constitution or laws of the United States, and second, that the alleged


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 deprivation was committed or caused by a person acting under color of state law. See Harvey v.

 Plains Twp. Police Dep’t, 635 F.3d 606, 609 (3d Cir. 2011); see also West v. Atkins, 487 U.S. 42,

 48 (1988).

                                         IV.     ANALYSIS

    A. Unlawful Seizure, False Arrest, and False Imprisonment

        I have construed the remaining portions of the Second Amended Complaint as asserting §

 1983 claims against Defendants for unlawful search and seizure, false arrest, and false

 imprisonment, under the Fourth Amendment. The Fourth Amendment of the Constitution of the

 United States guarantees a right to be free from unreasonable seizures. U.S. Const. amend. IV.

 A seizure occurs when a government official restrains a person’s freedom of movement such that

 the person is deprived of his or her free will to leave. Brendlin v. California, 551 U.S. 249, 254

 (2007). A seizure is generally permissible only if it is supported by probable cause to believe the

 person has committed a crime. Bailey v. United States, 568 U.S. 186, 192 (2013).

        A claim for false arrest thus requires that the plaintiff show (1) an arrest and (2) that the

 arrest was made without probable cause. James v. City of Wilkes-Barre, 700 F.3d 675, 680 (3d

 Cir. 2012). The probable-cause inquiry is an objective one: “an arresting officer’s state of mind

 (except for the facts that he knows) is irrelevant” and probable cause for an arrest will be found

 “as long as the circumstances, viewed objectively, justify that action.” Devenpeck v. Alford, 543

 U.S. 146, 153 (2004) (internal quotation marks omitted).

        Fourth Amendment rights may also be implicated by investigatory—or “Terry”—stops,

 which do not rise to the level of an arrest. See Terry v. Ohio, 392 U.S. 1, 28–30 (1968); see also

 United States v. Cortez, 449 U.S. 411, 417 (1981). An interaction may constitute a Terry stop

 when, “‘taking into account all of the circumstances surrounding the encounter, the police



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 conduct would have communicated to a reasonable person that he was not at liberty to ignore the

 police presence and go about his business.’” Kaupp v. Texas, 538 U.S. 626, 629 (2003) (quoting

 Florida v. Bostick, 501 U.S. 429, 437 (1991)). A Terry stop must be justified by a reasonable

 suspicion based on an objective sign that a person is, was, or is about to be, committing a crime.

 See Cortez, 449 U.S. at 417 & n.2. “The test is one of reasonableness given the totality of the

 circumstances, which can include [the suspect’s] location, a history of crime in the area, [the

 suspect’s] nervous behavior and evasiveness, and [the officer’s] ‘commonsense judgments and

 inferences about human behavior.’” Johnson v. Campbell, 332 F.3d 199, 206 (3d Cir. 2003)

 (quoting Illinois v. Wardlow, 528 U.S. 119, 124–25 (2000)); see also United States v. Thompson,

 772 F.3d 752, 758 (3d Cir. 2014). “To meet the reasonable suspicion standard, an officer needs

 only ‘a minimal level of objective justification.’” United States v. Foster, 891 F.3d 93, 104 (3d

 Cir. 2018) (quoting Wardlow, 528 U.S. at 123)). In examining this question, a court must

 consider only the facts known to the officer at the time of the stop. See United States v. Lowe,

 791 F.3d 424, 430 (3d Cir. 2015).

        Reasonable suspicion may be based on what the officer observes firsthand or upon

 reliable information provided by another person. See Adams v. Williams, 407 U.S. 143, 147

 (1972). If an officer relies on information from a third party to justify a Terry stop, the reliability

 of that information is assessed under factors identified by the Third Circuit in United States v.

 Torres, 534 F.3d 207, 210–11 (3d Cir. 2008). Under Torres, the reliability of third-party

 information may be bolstered based upon certain indicators:

                (1) The tip information was relayed from the informant to the
                officer in a face-to-face interaction such that the officer had an
                opportunity to appraise the witness’s credibility through
                observation.




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                 (2) The person providing the tip can be held responsible if her
                 allegations turn out to be fabricated.

                 (3) The content of the tip is not information that would be
                 available to any observer.

                 (4) The person providing the information has recently witnessed
                 the alleged criminal activity.

                 (5) The tip predicts what will follow, as this provides police the
                 means to test the informant’s knowledge or credibility.

 Id. at 211 (internal ellipsis omitted).

         Here, Jarvis’s encounter with police may be broken into two distinct seizures: his initial

 detention when Defendants located him near Hub Liquors and his subsequent arrest after Sterling

 had identified him as one of the assailants. The relevant undisputed facts relevant to the initial

 detention are as follows:

         1. Sterling reported to the New Brunswick Police Department that four men, two of

            whom had guns, had tried to kidnap and rob him. (Defs.’ Stmt. ¶ 2; see also Pl.’s

            Stmt. ¶ 2 (not disputing that Sterling had made such a report to the police).)

         2. Sterling reported that his assailants had fled towards Hub Liquors. (Defs.’ Stmt. ¶ 3;

            see also Pl.’s Stmt. ¶ 3 (not disputing that Sterling had reported such to police).)

         3. Sterling told Gliottone and DiMarcello that four men, two with guns, had encountered

            him near Hub Liquors and had ordered him to take them to his apartment, threatening

            to shoot him if he attempted to escape. 3 (Defs.’ Stmt. ¶ 4; see also Pl.’s Stmt. ¶ 4 (not

            disputing that Sterling made such allegations).)




 3
   As noted above, Jarvis contends that what Sterling reported did not happen and that it was, in
 fact, Sterling who stole money from Jarvis. (See Defs.’ Stmt. ¶ 4.) Jarvis does not, however,
 dispute Defendants’ representations as to what Sterling reported to police that night. (See id.)

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        4. Sterling described the assailants as four black, Jamaican men who were wearing jeans

           and t-shirts, one of whom had dreadlocks, and Gliottone distributed that description as

           well as the possible location of Hub Liquors over police radio. (Defs.’ Stmt. ¶ 5; see

           also Pl.’s Stmt. ¶ 5 (not disputing that Sterling provided such a description or that

           Gliottone broadcast it over police radio).)

        5. Defendants saw Jarvis, who matched the broadcast description of the suspect with

           dreadlocks, in the area of Hub Liquors. (Defs.’ Stmt. ¶¶ 6–7; see also Pl.’s Stmt. ¶¶ 6–

           7 (seemingly acknowledging that Sterling gave police “an exact description” of

           Jarvis)).

        6. Defendants detained Jarvis while Gliottone and DiMarcello brought Sterling to Hub

           Liquors to conduct a show-up. (Defs.’ Stmt. ¶¶ 8, 10; see also Pl.’s Stmt. ¶¶ 8, 10.)

 While Jarvis argues that the alleged crime against Sterling never occurred and contests

 Defendants’ assertions that he was struggling and belligerent while he was detained, he does not

 raise any factual questions with regard to what Sterling told police officers. (See ECF No. 89.)

        Based on these facts, I conclude that Defendants had reasonable suspicion to conduct an

 investigatory stop of Jarvis. Defendants had received information from other police officers that

 a person had reported being assailed by four men, two of whom were armed. Defendants had

 heard a description of the alleged assailants and their potential location broadcast over the police

 radio. Defendants had then reported to that location, and saw Jarvis, who matched the

 description provided of one of the armed assailants. 4 Although this information stems from a tip



 4
   Indeed, regardless of whether Jarvis committed a crime against Sterling that night, or if,
 instead, Jarvis was the victim of a crime committed by Sterling, it appears uncontested that
 Sterling did, in fact, provide police a description of Jarvis. Thus, Jarvis does not make any
 argument that his detention was unwarranted because he did not match the description provided
 to police.

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 from a third party, the information provided by Sterling to police satisfies at least the first four of

 the Torres factors: Sterling reported the incident and described his assailants face-to-face with

 Gliottone, who then relayed this information to other officers; the police knew who Sterling was

 and where he lived, and could have held him accountable if he had made false allegations; the

 incident allegedly involving Jarvis would not necessarily have been obvious to any observer; and

 Sterling was alleging very recent criminal activity of which he claimed he was victim. See

 Torres, 534 F.3d at 211. An investigatory stop is clearly warranted when a police officer

 encounters a person who matches the seemingly reliable description of a reported armed criminal

 in an area where the suspect is likely to be found. See, e.g., United States v. Lawrence, 327 F.

 App’x 378, 379–80 (3d Cir. 2009); United States v. Valentine, 232 F.3d 350, 354–57 (3d Cir.

 2000).

          Jarvis’s arguments that he did not commit any crime against Sterling, and was, in fact, the

 victim of a theft committed by Sterling, is simply not relevant to the analysis of whether

 Defendants had adequate reasonable suspicion to detain Jarvis at the time they did. Jarvis does

 not contest any of the allegations Sterling made to police, and, indeed, seems to acknowledge

 that Sterling made these reports. Although Jarvis argues that Sterling’s reports were lies, he

 provides no reason why police officers should have found Sterling lacking in credibility at that

 time. (See ECF No. 89.) The question before the Court is not whether Jarvis committed the

 crimes of which he was accused, but, considering the totality of the circumstances, whether

 Defendants, based on the information they had received, had “a minimal level of objective

 justification” to detain Jarvis for the purposes of their investigation. See Foster, 891 F.3d at 104.

 Similarly, Jarvis’s argument that he was not engaged in any suspicious activity at the time

 Defendants encountered him is not determinative, as reasonable suspicion may properly arise



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 from information obtained from other sources, not merely from activity witnessed firsthand by

 officers. See Adams, 407 U.S. at 147.

        I note that Jarvis repeatedly stresses that Defendants almost immediately handcuffed him

 despite the fact that their frisk revealed no weapon and that they did not inform Jarvis that he was

 being detained for the purposes of a show-up. (See ECF No. 89 at ECF pp. 4–5, 14–15; ECF No.

 97 at ECF p. 2.) To the extent that Jarvis intends to argue that his detention should be considered

 an arrest, requiring a showing of probable cause, rather than an investigatory stop justifiable

 merely by reasonable suspicion, such an argument is unavailing. While Jarvis emphasizes that

 Defendants made it clear that he was not free to leave, and even used force to restrain him, it is

 well-established that “a Terry stop is a seizure, and one seized is by definition not free to leave.”

 United States v. Edwards, 53 F.3d 616, 620 (3d Cir. 1995). As Jarvis was properly seized,

 Defendants had no obligation, as Jarvis suggests, to “giv[e] the Plaintiff the opportunity to walk

 away or ignore the false accusations.” (See ECF No. 97 at ECF p. 2.)

        Furthermore, “an officer may use intimidation and brief physical restraint without

 necessarily transforming the encounter into an arrest.” United States v. King, ___ F. App’x ___,

 2019 WL 1467994, at *3 (3d Cir. Apr. 2, 2019). Thus, neither Defendants making clear to Jarvis

 that he was not free to leave nor their handcuffing of him converted the detention to an arrest.

 See Baker v. Monroe Township, 50 F.3d 1186, 1193 (3d Cir. 1995) (“There is no per se rule that

 pointing guns at people, or handcuffing them, constitutes an arrest.” (emphasis added)). In

 considering whether a seizure is an arrest or a mere investigatory stop, courts may consider “the

 duration of the stop, the law enforcement purposes justifying the stop, whether the police

 diligently sought to carry out those purposes given the circumstances, and alternative means by

 which the police could have served their purposes.” United States v. Leal, 235 F. App’x 937,



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 941 (3d Cir. 2007). Here, Jarvis’s brief detention 5 by Defendants while they waited for Sterling

 to come for a show-up did not rise to the level of an arrest, despite the fact that Jarvis may have

 been handcuffed during that period. Although Jarvis argues that Defendants did not inform him

 that they were detaining him for the purposes of a show-up, there appears to be no dispute that

 Defendants in fact detained Jarvis for that purpose (whether or not it may have gone unspoken)

 and quickly brought Sterling to conduct a show-up, after which Jarvis was formally placed under

 arrest. Thus, Jarvis’s initial seizure, prior to his formal arrest, was both short and directly related

 to the investigatory purpose of conducting a show-up.

        To the extent that Jarvis also challenges his formal arrest after he had been identified by

 Sterling, that claim also fails. Similar to his argument regarding the initial seizure, Jarvis’s main

 contention is simply that Sterling’s allegations against him were false and that it was, in fact,

 Sterling who had committed a crime against him. (See ECF No. 89.) This argument is irrelevant

 to the inquiry of whether Defendants had probable cause to arrest Jarvis at that time. “Probable

 cause to arrest exists when the facts and circumstances within the arresting officer’s knowledge

 are sufficient in themselves to warrant a reasonable person to believe that an offense has been or

 is being committed by the person to be arrested.” Orsatti v. N.J. State Police, 71 F.3d 480, 482

 (3d Cir. 1995); see also Merkle v. Upper Dublin Sch. Dist., 211 F.3d 782, 788 (3d Cir. 2000).

 Jarvis contends that “there was no physical evidence or video surveillance in the possession of

 the Defendants at the time of the arrest to corroborate that such a crime took place,” but probable

 cause can arise from reliable information obtained from a third party, particularly if obtained

 from the victim of a crime. See Dempsey v. Bucknell Univ., 834 F.3d 457, 477–78 (3d Cir. 2016)



 5
   In his Second Amended Complaint, Jarvis asserts that, after he was frisked, he was “placed in
 the back seat of a patrol vehicle for about 60 seconds” before the show-up was conducted. (ECF
 No. 34 at ECF p. 6.)

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 (“[S]tatements of a victim witness are typically sufficient to establish probable cause in the

 absence of independent exculpatory evidence or substantial evidence of a witness’s own

 unreliability.” (internal quotation marks and brackets omitted)); see also Sharrar v. Felsing, 128

 F.3d 810, 818–19 (3d Cir. 1997) (“When a police officer has received a reliable identification by

 a victim of his or her attacker, the police have probable cause to arrest.”), abrogated on other

 grounds by Curley v. Klem, 499 F.3d 199 (3d Cir. 2007). When Jarvis was placed under arrest,

 Defendants had received a report from Sterling that he had been assailed at gunpoint by four

 men, two with guns, and Defendants had then been present for a show-up in which Sterling

 affirmatively identified Jarvis as one of the assailants. (See Defs.’ Stmt.; Pl.’s Stmt.) Presented

 with such information, the officers 6 clearly had probable cause to arrest Jarvis, regardless of

 whether it could subsequently be shown that Jarvis, in fact, did not commit any crimes against

 Sterling. Jarvis has presented no argument as to why Sterling’s allegations should have been

 found, at that moment, inherently incredible, or why officers should have rejected them out of

 hand.

         The finding that officers had probable cause to arrest Jarvis also precludes any recovery

 on a theory of false imprisonment. A false-imprisonment claim requires a showing that (1) the

 plaintiff was detained, and (2) the detention was unlawful. James, 700 F.3d at 682–83. Thus,

 when a person is arrested without probable cause, a claim for false imprisonment may be

 asserted as to the detention following that arrest. See Groman v. Township of Manalapan, 47

 F.3d 628, 636 (3d Cir. 1995); see also Manuel v. City of Joliet, 137 S. Ct. 911, 919 (2017). Here,

 however, while there is no question that Jarvis was detained, it has been established that this


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   There is some ambiguity as to which officer, whether one of the active Defendants or, instead,
 Gliottone, actually effectuated the arrest of Jarvis. Nonetheless, any of the officers who were
 present and privy to the information relayed by Sterling would have had grounds to arrest Jarvis,
 and, thus, the Court need not resolve this question.

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 detention was pursuant to an arrest with probable cause, and, therefore, was lawful. For all the

 foregoing reasons, summary judgment is granted as to the claims for unlawful seizure, false

 arrest, and false imprisonment.

    B. Unlawful Search

        I have also construed the Second Amended Complaint as asserting a claim for unlawful

 search, under the Fourth Amendment. (See ECF No. 34.) Jarvis primarily alleges that

 Defendants immediately frisked him, without notice or consent, and did not locate any weapon.

 (See ECF No. 34 at ECF p. 6; ECF No. 89 at ECF p. 14; ECF No. 97 at ECF p. 2.) Under Terry,

 “a law enforcement officer, for his own protection and safety, may conduct a patdown to find

 weapons that he reasonably believes or suspects are then in the possession of the person he has

 accosted.” Ybarra v. Illinois, 444 U.S. 85, 93 (1979). Like an investigatory detention, a Terry

 frisk may be justified by “point[ing] to specific and articulable facts which, taken together with

 rational inferences from those facts, reasonably warrant that intrusion.” Terry, 391 U.S. at 21.

 Applying this standard, I conclude that the frisk of Jarvis was justified under Terry. Sterling had

 reported that four men had attempted to kidnap or otherwise assail him, and that two of them

 were armed with guns. When Defendants arrived at Hub Liquors, they saw Jarvis, who matched

 the description of one of Sterling’s allegedly armed assailants. It is irrelevant to the justification

 for the frisk that Defendants did not actually find Jarvis to be in possession of a gun; the frisk

 was justified by the fact that they had received seemingly credible allegations that men with guns

 and criminal intentions, including one who matched Jarvis’s description, were in that area. Thus,

 summary judgment is granted to Defendants on the unlawful search claim.

        Defendants additionally argue that a search of Jarvis after he was placed under arrest was

 justified. (See ECF No. 85-2 at 17–18.) As Jarvis has made no mention of the post-arrest search



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 in his Complaint or his filings related to this motion, I do not construe him as asserting a claim

 arising from such a search. (See ECF Nos. 34, 89, 97.) Nonetheless, I note that Defendants

 correctly assert that a search following his arrest would have been justified as a search pursuant

 to lawful arrest, under Michigan v. DeFillippo, 443 U.S. 31, 35 (1979) (“The fact of a lawful

 arrest, standing alone, authorizes a search.”).

        As I conclude that the search and seizures that are the subject of this action were fully

 justified under controlling law, I need not reach Defendants’ arguments that the claims are barred

 by Heck and collateral estoppel or that Defendants are shielded by qualified immunity. (See ECF

 No. 85-2 at 18–30.)

                                       V.      CONCLUSION

        For the foregoing reasons, Defendants’ motion for summary judgment, (ECF No. 85), is

 GRANTED. As there are no other live claims in this action, the case will be CLOSED. An

 appropriate order follows.




 DATED: May 20, 2019                                           /s/ Freda L. Wolfson
                                                               FREDA L. WOLFSON
                                                               U.S. Chief District Judge




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